 

 

\OOO'--..]O\Ll\.b

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 3:16-cv-08277-DLR Document 30

Filed 04/06/18 Page 1 of 1

 

l_/TIED ___ l ODGED 1
___ RECENED __ COPY
Michael J Brosnahan
21 Hummingbird Circle APR 0 6 2013 1
Sedona Az. 86336 E|..J , Q ,W
mtk63@h0tmail.c0m CLJEJ.-';rlz"\j‘-::§i'[)gr-l ;€:rrzc(»:?:)m
(928) 300-6030 BY ~-1 DEF'UTY _

 

U'

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

MICHAEL J_ BROSNAHAN, NO. CV-l6-08277-PCT-DLR

Plaintiff,
NOTICE OF APPEAL

CALIBER HOME LOANS, INC., LSF9
MASTER PARTICIPATION TRUST,
AND SUMMIT SERVICE AND
REALTY LLC

AND/OR Real Party(s) In lnterest:

Defendants.

 

 

 

Notice is hereby given that Plaintiff Michael J. Brosnahan Consumer, appearing
pro Se, hereby appeals to the United States Court of Appeals for the 91h Circuit from the
Order and Motion to Dismiss on March 14, 2018.

RESPECTFULLY SUBMITTED: This 6th Day of April,' 2018. ii

_/.

BY:%/£: s ,`-»"; x ja {`( /, <f,/: agent
Co Silmer Cl,ai'mant Michael 1 Brosnahan,
Sihcerely aig/11 signed without prejudice

 

